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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF INDIANA
                                    TERRE HAUTE DIVISION

    UNITED STATES OF AMERICA,                          )
                                                       )
                                  Plaintiff,           )
                                                       )
                          vs.                          )
                                                       )      No. 2:10-cr-00007-JMS-CMM-19
    SUSIE SMITH,                                       )
                                                       )
                                  Defendant.           )

                                               ORDER

           On March 15, 2011, a jury found Defendant Susie Smith guilty of conspiracy to distribute

  500 grams or more of a mixture or substance containing a detectable amount of methamphetamine

  – a violation of 21 U.S.C. § 846. [Filing No. 842 at 1-3.] On July 6, 2011, this Court sentenced

  Ms. Smith to 151 months imprisonment to be followed by five years of supervised release. [Filing

  No. 1045 at 2-3.] Presently pending before the Court is Ms. Smith’s Motion for Modification or

  Reduction of Sentence. [Filing No. 1551.] For the reasons that follow, the Court DENIES Ms.

  Smith’s motion.

           On September 13, 2016, Ms. Smith filed the pending motion, requesting a modification or

  reduction of her sentence pursuant to 18 U.S.C. § 3582(c)(2). [Filing No. 1551.] Ms. Smith states

  that she was sentenced at an offense level of 40 and a criminal history category of 1. [Filing No.

  1551 at 1.] She requests that the Court follow the dictates of Amendment 794 to the Sentencing

  Guidelines, reduce her total offense level to 36, and impose a more lenient sentence. [Filing No.

  1551.]

           In response, the Government argues that Ms. Smith is not eligible for a reduction pursuant

  to Amendment 794 because: (1) she has already received a reduction for her role in the offense



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  and (2) Amendment 794 does not apply retroactively. [Filing No. 1555 at 2-3.] The Government

  contends that Ms. Smith received a reduction for her mitigated role in the offense and was

  sentenced at a total offense level of 34 – not a total offense level of 40 as claimed by Ms. Smith in

  her motion. [Filing No. 1555 at 2-3.] Further, the Government argues that, even if Ms. Smith had

  not already received a reduction for her mitigated role in the offense, she would not be entitled to

  relief under Amendment 794 because the Sentencing Commission did not make Amendment 794

  retroactive for collateral review. [Filing No. 1555 at 2-3.]

         “‘A judgment of conviction that includes [a sentence of imprisonment] constitutes a final

  judgment’ and may not be modified by a district court except in limited circumstances.” Dillon v.

  United States, 560 U.S. 817, 824 (2010) (citing 18 U.S.C. § 3582(b)). Section 3582(c)(2) provides

  an exception:

         [I]n the case of a defendant who has been sentenced to a term of imprisonment
         based on a sentencing range that has subsequently been lowered by the Sentencing
         Commission . . . the court may reduce the term of imprisonment . . . if such a
         reduction is consistent with applicable policy statements issued by the Sentencing
         Commission.

  “A reduction in the defendant’s term of imprisonment is not consistent with this policy statement

  and therefore is not authorized under 18 U.S.C. 3582(c)(2) if – (A) None of the amendments listed

  in subsection (d) is applicable to the defendant . . . .” U.S.S.G. § 1B1.10(b).

         Amendment 794 to the Sentencing Guidelines clarifies the commentary to the Sentencing

  Guidelines with regard to reductions for the defendant’s role in the offense, allowing more

  defendants to qualify for the reduction. U.S.S.G. App. C. Amend. 794; see also United States v.

  Quintero-Leyva, 823 F.3d 519, 522-23 (9th Cir. 2016). However, the Court finds that Ms. Smith

  has indeed already received a reduction for her role in the offense. Although the Presentence

  Investigation Report recommended that Ms. Smith should not receive a reduction for a mitigating


                                                   2
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  role in the offense, [Filing No. 973 at 9], resulting in a total offense level of 40, the Court declined

  to follow that recommendation and assigned Ms. Smith a total offense level of 34, [Filing No.

  1046 at 1]. The Court specifically noted that it “determined the defendant is eligible for a

  mitigating role adjustment of 2 levels, pursuant to 3B1.2(b).” [Filing No. 1046 at 1.] Therefore,

  Amendment 794 does not convey any further benefit to Ms. Smith.

          Further, the Sentencing Commission did not make Amendment 794 retroactive for

  collateral review. Helmer v. United States, 2016 WL 5118816 (S.D. Ill. 2016); see also U.S.S.G.

  § 1B1.10(d) (listing covered amendments for retroactivity). 1 Therefore, even if Ms. Smith had not

  already received a reduction for her role in the offense, she would not be entitled to relief under

  Amendment 794.

          Because the Court finds that Ms. Smith has already received a reduction for her role in the

  offense (so Amendment 794 does not offer her any further relief), and since Amendment 794 is

  not retroactive for collateral review, Ms. Smith’s Motion for Modification or Reduction of

  Sentence, [Filing No. 1551], is DENIED.




              Date: 11/29/2016                              _______________________________

                                                                Hon. Jane Magnus-Stinson, Judge
                                                                United States District Court
                                                                Southern District of Indiana




  1
    U.S.S.G § 1B1.10(d) states that the “Amendments covered by this policy statement are listed in
  Appendix C as follows: 126, 130, 156, 176, 269, 329, 341, 371, 379, 380, 433, 454, 461, 484, 488,
  490, 499, 505, 506, 516, 591, 599, 606, 657, 702, 706 as amended by 711, 715, 750 (parts A and
  C only), and 782 (subject to subsection (e)(1)).” Because Amendment 794 is absent from the list
  reflected in U.S.S.G. § 1B1.10(d), a reduction under Amendment 794 is not authorized under 18
  U.S.C. 3582(c)(2).
                                                     3
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